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NATIONAL CRIME VICTIM. LAW INSTITUTE = =—-310 SW 4th Ave.. Suite 540, Ponland, OR 97204
NEW YORK VICTIMS’ RIGHTS LAWS’

  

Constitution

New York does not have a victims’ rights amendment to its constitution.

McKinney’s Executive Law; Article 23, Fair Treatment Standards for Crime Victims

§ 640 — Fair Treatment Standards for Crime Victims

1. The commissioner of the division of criminal justice services, in consultation with the
director of the office of victim services and other appropriate officials, shall promulgate
standards for the treatment of the innocent victims of crime by the agencies which
comprise the criminal justice system of the state.

2. For the purposes of this article the term “criminal justice” shall include juvenile justice and
the objectives and criterta set forth in sections six hundred forty-one and six hundred forty-
two.of this article shall apply to.presehtment agencies:as defined in subdivision twelve of
section 301.2 of the family court act.

§ 641 — Objectives of Fair Treatment Standards

The object of such fair treatment standards shall be to:

and medical services as soon

1. Ensure that crime victims routinely receive emergency social
hundred twenty-five-a of this

as possible and are given infonmation pursuant to section six
chapter on the following:

(a) availability of crime victim compensation;

(b) availability of appropriate public or private programs that provide counseling,
treatment of support for crime victims, including but not limited to the following: rape
crisis centers, victim/witness assistance programs, elderly victim services, victim
assistance hotlines and domestic violence shelters;

(c) the role of the victims in the criminal justice process, including what they can expect
from the system as well as what the system expects from them; and

(d) stages in the criminal justice process of significance to a crime victim, and the manner
in which information about such stages can be obtained,

 

+ Not intended to be exhaustive.
 

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2. Ensure routine notification of a victim or witness as to steps that law enforcement officers
or district attorneys can take to protect victims and witnesses from intimidation.

3. Ensure notification of victims, witnesses, relatives of those victims and witnesses who are
minors, and relatives of homicide victims, if such persons provide the appropriate official
with a current address and telephone number, either by phone or by mail, if possible, of
judicial proceedings relating to their case, including:

(a) the arrest of an accused;
(b) the initial appearance of an accused before a judicial officer,
(c) the rélease of an accused pending judicial proceedings; and

(d) proceedings in the prosecution of the accused including entry of a plea of guilty, trial,
sentencing, but prior to sentencing specific information shall be provid ed regarding the
right to seek restitution and reparation, and where a term of imprisonment is imposed, ©
specific information shall be provided regarding maximum and minimum terms of such

imprisonment.
§ 642 — Criteria for Fair Treatment Standards
Such fair treatment standards shall provide that:

1. The victim of a violent felony offense, a felony involving physical injury te the victim, a
felony involving property loss or damage in excess of two hundred fifty dollars, a felony
involving attempted or threatened physical injury or property loss or damage in excess of
two hundred fifty dollars or a felony involving larceny against the person shall, unless he
or she refuses or is unable to cooperate or his or her whereabouts are unknown, be
consulted by the district attorney in order to obtain the views of the victim regarding
disposition of the criminal case by dismissal, plea of guilty or trial. In such a case in which
the victim is a minor child, or in the case ofa homicide, the district attorney shall, unless
the family refuses or is unable to cooperate or his, her or their whereabouts are unknown,
consult for such purpose with the family of the victim. In addition, the district attorney
shall, unless he or she (or, in the case in which the victim is a minor child or a victim of
homicide, his or her family) refuses or is unable to cooperate or his, her or their
whereabouts are unknown, consult and obtain the views of the victim or family of the
victim, as appropriate, concerning the release of the defendant in the victim's case pending
judicial proceedings upon ar indictment, and concerning the availability of sentencing
alternatives such as community supervision and restitution from the defendant. The failure
of the district attorney to so obtain the views of the victim or family of the victim shall not
be cause for delaying the proceedings against the defendant nor shall it affect the validity
of a conviction, judgment or order.

2. The victims and other prosecution witnesses shall, where possible, be provided, when
awailing court appearances, a Secure waiting area that is separate from all other wilbesses.

2-a. (a) All police departments, as that term is defined in subdivision a of section eight

 

 
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hundred thirty-seven-c of this chapter, district attorneys’ offices and presentment
agencics, as that term is defined in subdivision twelve of section 301.2 of the family
court act, shall provide a private setting for interviewing victims ofa crime defined In
article one hundred thirty or section 255.25, 255.26, or 255.27 of the penal law, For
purposes of this subdivision, "private setting” shall mean an enclosed room from
which the occupants are not visible or otherwise identifiable, and whose conversations
cannot be heard, from outside such room. Only (i) those persons directly and
immediately related to the interviewing of a particular victim, (ii) the victim, (iii) a
social worker, rape crisis counselor, psychologist or other professional providing
emotional support to the victim, unless ihe victim objects to the presence of such
person and requests the exclusion of such person from the interview, and. (iv) where
appropriate, the parent or parents of the victim, if requested by the victim, shall be
present during the interview of the victim.

(b) All police departments, as that term is defined in subdivision a of section eight hundred
thirty-seven-c of this chapter, shall provide victints of a crime defined in article one
hundred thirty of the penal law with the name, address, and telephone of the nearest:

rape crisis center in writing.
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4. The victim or witness who so requests shall be assisted by Jaw enforcement agencies and

in the prosecution of the case may necessitate absence of that victim or witness from work.
In addition, a victim or witness who, as 4 direct result of a crime or of cooperation with
law enforcement agencies or the district attorney in the investigation or prosecution ofa
crime is unable to meet obligations to a creditor, creditors or others should be assisted by
such agencies or the district attorney in providing to such creditor, creditors or others
accurate information about the circumstances of the crime, including the nature of any loss
or injury suffered by the victim, or about the victim's or wilness' cooperation, where
appropriale.

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of domestic violence, sex offense yictins, clderly victims, child victims. and the families
of homicide victins, shall be given lo persons taking courses at state law enforcement 7
training facilities and by district attorneys so that victims may be promptly, properly and
completely assisted. : ee

— Ss) Victim assistance education and training, with special consideration Wo be given to victims

§ 642a — Fair Treatment of Child Victims as Witnesses

To the extent permitted by law, criminal] justice agencies, crime victim-related agencies, social
services agencies and the courts shall comply with the following guidelines in their treatment of
child victims:

1. To minimize the number of times a child victim is called upon to recite the events of the
case and to foster a feeling of trust and confidence in the child victim, whenever
practicable and where one exists, a multi-disciplinary team as established pursuant to

 

 

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subdivision six of section four hundred twenty-three of the social services law and/or a
child advocacy center shall be used for the investigation and prosecution of child abuse
cases involving abuse of a child, as described in paragraph (i), Gi) or (iii) of subdivision (¢)
of section one thousand twelve of the family court act, sexual abuse ofa child or the death
ofa child.

2. Whenever practicable, the same prosecutor should handle all aspects of a case involving an
alleged child victim.

3. To minimize the time during which a child victim must endure the stress of his
invelvement in the proceedings, the court should take appropriate action to ensure a speedy
trial in all proceedings involving an alleged child victim. In ruling on any motion or
request for a delay or continuance of a proceeding involving an alleged child victim, the
court should consider and give weight to any potential adverse impact the delay or
continuance may have on the well-being of the child.

4. The judge presiding should be sensitive to the psychological and emotional stress a child
witness may undergo when testifying.

5. In accordance with the provisions of article sixty-five of the criminal procedure law, when
appropriate, a child witness as defined in subdivision one of section 65.00 of such law
should be permitted to testify via live, two-way closed-circuit television.

6. In accordance with the provisions of section 190.32 of the criminal procedure law, a person
_________gnpportive of the "child witness” or "special witness" as defined in such section should be
permitted to be present and accessible to a child witness at all times during his testimony,
although the person supportive of the child witness should not be permitted to influence

the child's testimony.

7. A child witness should be permitted in the discretion of the court to use anatomically
correct dolls and drawings during his testimony.

§ 643 — Fair Treatment Standards for Crime Victims; Agencies Generally

   

1. As used in this ; section “et apency” miversany gency ofstate
_government which provides services to.or. deals directly with crime victims including
Aa) the office of children and family services, the office forthe aging, the division- of

“veterans affairs, and correctional afietatives the division of parole, office of victim
services the department of motor vehicles, the office of vocational rehabilitation, the

v workers’ compensation board, the department of health, the division of criminal justice

services, the office of mental health, every transportation authority and the division of
state police, and (b) any other agency so designated by the governor within ninety days
of the effective date of this section.

2. Each crime victim-related agency shall review its practices, procedures, services,
regulations and Jaws to determine the adequacy and appropriateness of its services with
respect to crime victims, including victims with special needs, particularly the elderly,
disabled or victims of child abuse, domestic violence or sex-related offenses. Such review

 
 

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shall include reasonable opportunity for public comment and consultation with crime
victims or their representatives, and may include public hearings.

3. After the review, and not later than one hundred eighty days afler the effective date of this
section, each crime victim-related agency shal] submit a report to the governor and the
legislature, setting forth the findings of the review including a description of the
services provided by the agency and recommendations for changes in its practices,
procedures, services, regulations and laws to improve its services to crime victims and
to establish and implement fair treatment standards for crime victims.

4. Subject to the direction of the governor, and to the extent practicable, each crime
victim-related agency shall expeditiously implement the recommendations of its report.

§ 644 — Implementation

The commissioner of the division of criminal justice services and the director of the office of
victim services shall assist criminal justice agencies in implementing the guidelines promulgated
by the commissioner.

§ 645 — Fair Treatment Standards for Crime Victims in the Courts

The chief administrator of the courts, in consultation with the commissioner of the division of
officials, shall promulgate standards for the treatment of the innocent victims of crime by the -
unified court system. These standards shall conform to and be consistent with the regulations
promulgated pursuant to section six hundred forty of this article.

§ 646 — Police Reports

xs A victim of crime shall be entitled, regardless of physical injury, without charge to a copy
of a police report of the crime.

2 An individual whose identity was assumed or whose personal identifying information, as
defined in section 190.77 of the penal law, was used in violation of section 190.78, 190.79
or 190.80 of the penal law, or any person who has suffered a financial loss as a direct result
of the acts of a defendant in violation of section 190.78, 190.79, 190.80, 190.82 or 190.83
of the penal law, who has learned or reasonably suspects that his or her personal
identifying information has been unlawfully used by another, may make a complaint te the
local law enforcement agency of the county in which any part of the offense took place
regardless of whether the defendant was actually present in such county, or in the county in
which the person who suffered financial loss resided at the time of the commission of the
offense, or in the county where the person whose personal identification information was
used in the commission of the offense resided at the time of the commission of the offense
as provided in paragraph (1) of subdivision four of section 20.40 of the criminal procedure
law. Said local law enforcement agency shall take a police report of the matter and provide
the complainant with a copy of such report free of charge.
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§ 646 — Objectives
The object of these fair treatment standards shall be to:
1. Ensure that crime victims are given information on the following:

(a) the role of the victims in the criminal justice process, including what they canexpect
from the system as well as what the system expects from them;

(b) stages in the criminal justice process of significance to a crime victim, and the manner
in which information about such stages can be obtained; and

(c) how the court can address the needs of the victims at sentencing. :

- Ensure routine notification of a victim or witness as to steps that the court can take to
protect victims and witnesses from intimidation, including the issuance of orders of
protection and temporary orders of protection.

3. Ensure notification of victims, witnesses, relatives of those victims and witnesses who are
minors, and relatives of homicide victims, if such persons provide the appropriate court
official with a current address and telephone number, either by phone or by mail, if |
possible, of judicial proceedings relating to their case, including: |

(a) the initial appearance of an accused before a judicial officer,

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(b) the release of an accused pending judicial proceedings;

(c) proceedings in the prosecution of the accused, including entry of a plea of guilty, trial,
sentencing, and where a term of imprisonment is imposed, specific information shal] be
provided regarding maximum and minimum terms of such imprisonment; and

(d) the reversal or modification of the judgment by an appellate court.
§ 646-a — Information Relative to the Fair Treatment Standards; Pamphlet

a 1. The district attorney shall provide the victim, at the earliest time possible, with an
informational pamphlet detailing the rights of crime victims which shall be prepared by the
division of criminal justice services in consultation with the director of the office of victim
services and distributed to each district attorney's office.

2. The pamphlet shall summarize provisions of this article. Jt shall also include specific
information with appropriate statutory references on the following:

(a) the rights of crime victims to compensation and services;

(b) the rights of crime victims to routine notification of judicial proceedings relating to
their case as provided in section six hundred forty-one of this article, in section 330.20,
and section 440.50 of the criminal procedure law and section one hundred forty-nine-a
of the correction law;
 

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(c) the rights of crime victims to be protecied from intimidation and to have the court,
where appropriate, issue protective orders as provided in sections 530.1 2 and 530.13 of
the criminal] procedure law and sections 215.15, 215.16 and 215.17 of the penal law;

(d) the rights of crime victims to submit, where appropriate, a victim impact statement for
the pre-sentencing report and the parole hearing as provided in section 390.30 of the
criminal procedure law and section two hundred fifty-nine-i of this chapter;

(e) the rights of crime victims, where a defendant is being sentenced for a felony, to
request the right to make a statement at the time of sentencing as provided in section
480.50 of the criminal procedure law; and

(f) the rights of crime victims to request restitution and have the district attorney present
such request to the court and assist the crime victim in the filing and collection of a
restitution order in cooperation with the designated agency of the court as provided in
section 420.10 of the criminal procedure law and section 60.27 of the penal law.

(g) the rights of crime victims to be aware of the defendant's incarceration status by
providing the division of parole’s contact information, including the division's toll-free
iclephone number, as provided for in subdivision two of section two hundred fifty-
nine-i of this chapter. Such notice shall advise the rime Victim to use the division's
toll-free telephone number to update contact information,

_ 3 This pamphlet shall provide space for the insertion ofthe follawing information:
(a) the address and phone number of the office of victim services;
(b) the address and phone numbers of local victim service programs, where appropriate;

(c) the name, phone number and office location of the person in the district attorney's
office to whom inquiries concerning the victims case may be directed; and

(d) any other information the division deems appropriate.

4. (a) The commissioner of the division of criminal justice services in consultation with the
director of the office of victim services shall develop and prepare a standardized form for
the use of district attorney offices for the purpose of reporting compliance with this
section. The form is to be distributed to each district attorney. Every district attorney's
office in the state shall complete the reporting form annually and send it to the director of
the office of victim services by the first day of January each year subsequent to the
effective date of this subdivision.

(b) A copy of the report shall be retained by the district attorney and upon request, a victim
ofa crime or relative of a victim shall be entitled to receive from the district attorney a
copy of their district attorney's annual report without charge. Any other person
requesting 2 copy of the report shall pay a fee not to exceed the actual cost of
reproduction.
 

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§ 647 — Criteria
Fair treatment standards for crime victims in the courts shall provide that:

1. The court shall consider the views of the victim ofa violent felony offense, a felony
involving physical injury to the victim, a felony involving property loss or damage in
excess of two hundred fifty dollars, a felony involving attem pted or threatened physical
injury or property loss or damage in excess of two hundred fifty dollars or a felony
involving larceny against the person, or of the family of a homicide victim or minor child,
regarding discretionary decisions relating to the criminal case, including, but not limited to,
plea agreements and sentence. In addition, the court shall consider the views of the victim
or family of the victim, as appropriate, concerning the release of the defendant in the
victim's case pending judicial proceedings upon an indictnent, and concerning the
availability of sentencing alternatives such as community supervision and restitution from
the defendant. The failure of the court to consider the views of the victim or family of the
victim shall not be cause for delaying the proceedings against the defendant nor shail it
affect the validity of a conviction, judgment or order.

> The victims and other prosecution witnesses shall, where possible, be provided, when
awaiting court appearances, a secure waiting area that is separate from all other witnesses.

3. The court shall assist in and expedite the return of property held for evidentiary purposes
unless there is a compelling reason for retaining it relating to proof at trial.

_4. Victim assistance education shall be given to judicial and nonjudicial personnel of the
unified court system so that victims may be promptly, properly and completely assisted.

§ 648 — Review; Report and Implementation

1. The chief administrator of the unified court system shall review court practices,
procedures, services, regulations and laws to determine the adequacy and appropriateness
of its services with respect to crime victims, including victims with special needs,
particularly the elderly, disabled or victims of child abuse, domestic violence or sex-related
offenses. Such review shall include reasonable opportunity for public comment and
consultation with crime victims or their representatives, and may include public hearings.

2. After the review, and not later than lwo hundred seventy days after the effective date of
this section, the chief administrator of the unified court system shall submit a report to the
governor and the legislature, setting forth the findings of the review. including a
description of the services provided by the components of the unified court system and
recommendations for changes in its procedures, services, regulations and laws to improve
its services to crime victims and to establish and implement fair treatment standards for
crime victims, :

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. Subject to the direction of the chief administrator, the components of the unified court
system shall expeditiously implement the recommendations of its report.

§ 649 — Miscellaneous
 

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Nothing in this article shall be construed as creating a cause of action for damages or injunctive
relief against the state or any of its political subdivisions or officers or any agency thereof.

McKinney's Social Services Law § 483-aa

§ 483-aa. Definitions

The following definitions shall apply to this article: \
| (a) “Human trafficking victim”? means a person who js a victim of sex trafficking as
defined in section 230.34 of the penal law or a victim of labor trafficking as defined in

section 135.35 of the penal law.

(b) “Pre-certified victim of human trafficking” is a person who has a pending application
x for federal certification as a victim of a severe form of trafficking in persons as defined

in section 7105 of title 22 of the United States Code (Trafficking Victims Protection)
but has not yet obtained such certification, or a person who has reported a crime to law
enforcement and it reasonably appears to law enforcement that the person is such a
victim.

 

§ 483-bb. Services for victims of human trafficking

(a) The office of temporary and disability assistance may coordinate with and assist law

 

human trafficking victims.

(b) In providing such assistance, the office of temporary and disability assistance may

Br enter into contracts with non-government organizations for providing services to pre-
certified victims of human trafficking as defined in subdivision (b) of section four
hundred eighty-three-aa of this article, insofar as funds are available for that purpose.
Such services may include, but are not limited to, case management, emergency
temporary housing, health care, rental health counseling, drug addiction screening and
treatment, language interpretation and translation services, English language
instruction, job training and placement assistance, post-cmployment services for job
retention, and services to assist the individua) and any of his or her family meinbers to
establish a permanent residence in New York state or the United States. Nothing in this
section shall preclude the office of temporary and disability assistance, or any local
social services district, from providing human trafficking victims who are United
States citizens or human trafficking victims who meet the criteria pursuant to section
one hundred twenty-two of this chapter with any benefits or services for which they
otherwise may be eligible.

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§ 483-cc. Confirmation as a victim of human trafficking

(a) As soon as practicable after a first encounter with a person who reasonably appears to a
law enforcement agency or a district attorney's office te be a human trafficking victim,
that agency or office shall notify the office of temporary and disability assistance and

eiforcementavencies and district attomey's offices to-access appropriate services-for.———_____

 
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the division of criminal justice services that such person may be eligible for services
under this article.

(b) Upon receipt of such a notification, the division of criminal justice services, in
consultation with the office of temporary and disability assistance and the referring
agency or office, shall make a preliminary assessment of whether such victim or
possible victim appears to meet the criteria for certification as a victim of a severe form
of trafficking in persons as defined in section 7105 of title 22 of the United States Code
(Trafficking Victims Protection) or appears to be otherwise eligible for any federal,
state or local benefits and services, If it is determined that the victim appears to meet
such criteria, the office of temporary and disability assistance shall report the finding to
the victim, and to the referring law enforcement agency or district attorney's office, and
may assist that agency or office in having such victim receive services from a case
management provider who may be under contract with the office of temporary and
disability assistance, or from any other available source. If the victim or possible victim
is under the age of eighteen, the office of temporary and disability assistance also shall
notify the local department of social services in the county where the child was found.

Statutes
McKinney's Executive Law Ch. EIGHTEEN, Art. 23, Refs & Annos

CROSS REFERENCES

Action against offender's estate; victim as creditor, see Civil Rights Law § 79-d.

Action by victim of criminal offense, time limits, see CPLR 213-5.
Compensation for crime victims, see Executive Law § 620 et seq.
Deaf victim, appointment of interpreter, see Judiciary Law § 390.

Dispositions of offenders, restitution and reparation, see Penal Law § 60.27.

Dispute resolution, notice and opportunity for victim to be heard prior to referval, see CPL
215.10; CPL 215.20.

Employer unlawfully penalizing victim witness, misdemeanor, see Penal Law § 215.14.
Forfeiture of proceeds of crime, see CPLR 1310 et seq.
><Intimidation of victim, felony, see Penal Law § 215.15 et seq.
Judicial administration, chief administrator, sce Judiciary Law § 212.
Mentally incapacitated defendant, notice to potential victim of release, see CPL 730.60.
Val Notice to crime victim of case disposition, see CPL 440.50.

q Orders of protection for crime victims while action pending, see CPL 530.12; CPL §30.13.
 

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Parole board, consideration of crime victim's statement, see Executive Law § 259-1.
Proceeds of crime, recovery by victim, see Executive Law § 632-a.
Released inmates; notification to victims and famity members, see Correction Law § 149-a.

Restitution and reparation to crime victim, see Penal Law § 60.27.

 
 

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This page is located on the NYC.gov Web site at
ttp:/Avww nive.qow/brmi/aved/htmli/oripr 2013.11 25 operation crew cuts 6 homicide _ameng youth in_half.shtm!

FOR JMMEDIATE RELEASE
Monday, November 25, 2013

HOMICIDES AMONG VICTIMS AGE 13 TO 21 HAVE DECLINED 50% CITYWIDE

NYPD Credits Reduction to Gperation Crew Cut; 21% Decrease In Homicides
and Shootings Overall

Strategic Enforcement Team in Brownsville, Brooklyn Identifies 20 Subjects
Being Indicted Today

Police Commissioner Raymond W. Kelly announced Monday that one year after the
Implementation of the NYPO's “Operation Crew Cut,” creme statistics show that homicides
amang young people ages 13 to 22 + these who are most at-nsk of retaliatory street
violence such as that which Operation Crew Cutis designed to suppress — have fallen
50.6%, from 87 to. 43 through November 24. Commissioner Kelly wes joined at One
Police Plaza by Chief of Department Phillp Banks #1, Chief of Patra! James P, Hall;
Assistant Chief Gerald Nelson, the commander of Patrol Borolgh Brooklyn North; Deputy
Inspector Joseph: Gulotta, the commanding officer of the 73rd Precinct in Brownsville;
Lance Ogiste, Counsel to the Kings County District Attorney, and Chief of the Kings
County District Attorney Gangs Bureau, Edward J. Carrolh.

“Strategic enforcement and proactive pollcing combined with strong prosecutorial
partnerships, including attention to the new pattleqround of social media, have resulted
In lives being saved In New York City, mostly young minority men." Police Commissioner
Raymond W. Kelly said. “additionally, shootings and homicides citywide, regardiess of

 

Cormmisstoner Kelly said that since the establishment of Operation Crew Cut fast Gctober,
police and presecutors have conducted 25 investigations threughout the five boratighs
resulting In more than 400 crew members indicted for srimes including murder,
rabberles, assault, and weapons possession. Twenty subjects responsible for viclence In
Brownsvilie's 73rd Precinct have been identilied i indictments being unsealed in
Brooklyn today. The charges Include the August 2012 shooting homicide of a 14-year-old
“ATC - Addicted to Cast” crew member, Ronald Wailace.

In 2011, avout one-trind of shootings in New York City were committed by young people
motivated by geographic turf or other strest crew rivalry. In response, the Departimerit
increased the number of detectives in its Sang Division and shifted Investigative
attention to looséty organized crews, 65 well as partnered NYPD attorneys with Gang
Division Investigators and thelr counterparts In the five District Attorneys’ offices. A
juvenile Justice Division was establshed witnn the Community Affairs Bureaw and its
members have, along with helping to enhance investigations with Insight dleaned from
open-source social media, held ‘youth sumynits’ to educate parents and querdians, school
personnel and other adults ensigns ot crew inwolvernent or woleat criminal behavior, and
ways to mitigate that.

At the precinct level, Strategic Falorcement Teoms (SETs) were daveloped ani! deployed
ro perferm proactive, anti-crime patral and in cases of established rivatries, to identify
and apprehend perpetrators and orevent further escalation between groups. Members of
the NYPD's Transit and Housing Bureaus were trained and dedicated ta work closely with
investigators on cases, A disproportionate number of shootings occur in public housing
--- approximately one in five or 20% of violent crimes atywide, with oniy 5% of New
York Clty residents living unt public housing.

Year ta date, the Department also has recovered 2,057 guns, including frem young men
originaily stupped! for Infractigns suet a2 turstile jumping . Five guns were recovered
from: the subjects kdentitied sn Muncday’s case, including a louded 22-caliber revolver [rom
a 14-year-old fernale crew member carrying it in her pocketbook this August.

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A New Crackdown Yields 14 Indictments
Against a Youthful Harlem Gang

By JOHN ELIGON FEB. 16, 2011

All but one of the reputed gang members were born in the 1990s. The lone female
among them was a student at Deerfield Academy, an clite Massachusetts prep
school.

They were said to have hired young girls to carry their guns because the girls
were less likely to be stopped and frisked by the police. And some of them allegedly
continued to run their Central Harlem drug operation from behind bars, referring to
their product with terms like “chicken” when they spoke to their associates over the

phone.

That was how prosecutors on Wednesday described a gang called the 137th
Street Crew, which they said ran a cocaine ring and used guns to protect their turf
from rival gangs.

Manhattan prosecutors won indictments of 14 people they identified as
members of the gang. Five of them were charged with first-degree conspiracy, which

carries a Iaximum sentence of life in prison.

http://Awww.nytimes.com/20) 1/02/17/nyregion/17gangs.html?_r=0 12/22/2015
 

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Other charges included attempted assault and weapons possession. And
prosecutors accused one of the alleged gang members, Jonathan Hernandez, of
attempted murder involving a shooting last July.

The arrests were the first major roundup in an ambitious effort by Cyrus R.
Vance Jr., the Manhattan district attorney, to try to take down, over the course of the
next year, roughly 20 gangs that his office has identified.

Mr. Vance said that his office, working with the Police Department, had used
new analytic tools that have allowed prosecutors to better identify gangs and connect
different criminal acts to particular gangs.

“This is a measured, proactive, step-by-step approach to taking on violent hot
spots throughout Manhattan,” Mr. Vance said.

All but two of the defendants are in custody, and they were arraignedon
Wednesday in State Supreme Court in Manhattan. Mr. Vance appeared before the
judge for several of the arraignments, a rare step for a prosecutor with many
assistant district attorneys. ae

The court entered not guilty pleas on the defendants’ behalf.

This gang fits what prosecutors have called the new face of gangs in the city:
young people, many stil] in their teens, organized by blocks, well armed and willing

to protect their territory.

The 137th Street Crew operated “in the center of a cultural zone of Harlem,” Mr.
Vance said. Their turf was 137th Street between Adam Clayton Powell Jr. Boulevard
and Lenox Avenue, the same block that the Abyssinian Baptist Church, Mother
A.M.E. Zion Church and the Harlem Children’s Zone Promise Academy are on.

Jaquan Layne, who prosecutors.said was one of the leaders of the operation,
continued to coordinate drug activity after he was jailed on Rikers Island in a

different case.

“Just sit in front of the stoop in the morning,” Mr. Layne, 20, told a co-

defendant, according to an excerpt of their recorded telephone conversation cited in

http://www.nytimes.com/201 1/02/1 7/nyregion/1 7gangs.html?_1=0 12/22/2015
 

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the indictment. “You catch all the morning flow, cause they'll all come see you,
boom, boom, boom, ’cause that’s the morning.”

Correction: February 23, 2014

An article on Thursday about indictments of reputed gang members in
Harlem misstated the name of a church that is on the block where the gang
allegedly operated. It is Mother A.MLE. Zion Church, not Mother A.M.E.

Zion Baptist Church.
A version of this article appears in print on February 17, 2011, on page A29 of the New York edition with
the headline: A New Crackdown Yields 14 Indictments Against a Youthful Harlem Gang.

 

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http://www nytimes.com/2011 /02/17myregion/1 7gangs.html?_r=0 12/22/2015
 

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How the NYPD is using social media to

put Harlem teens behind bars |
The untold story of Jelani Henry, who says Facebook likes landed
him in Rikers

By Ben Popper on December 10, 2014 01:15 pm

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The Henry brothers, Asheem and Jelani, were born exactly one year
apart to the day, in the warm Junes of 1991 and ‘92. "I always felt there
was something special about that,” says their mother Alethia. “A little
bit of magic.” The two grew up together in their mother’s small
apartment on the corner of 129th Street and Malcolm X Boulevard in
New York's Harlem neighborhood.

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EWERGE: the brothers were good friends with kids from all

TF) Vv as they matured into adolescent young men, @ set of

once-invisible rivalries began to surface. The True Money Gang from
the Johnson Houses was at war with the Air It Out crew from the Taft
Houses. Crews from Grant and Manhattanville projects exchanged
gunfire in the streets. As he grew up, Jelani looked forward to leaving
the neighborhood for school, “So | didn’t have to look behind my back
every two seconds to see if someone about to bash me in the head,”

he says.

When Asheem was 13 and Jelani was 12, the Henry boys began 7
running with a crew based on 429th Street between Fifth Avenue and }
Lenox. The Goodfellas was a clique that offered the boys camaraderie, .

cache, and protection from other crews. "If you in another crew's area,

without your boys, those niggas will jump you,” explains Asheem.

THE MOUNTAINS OF DIGITAL MEDIA POSTED ;
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CONNECTIONS -

in November of 2011, the crew life caught up with them. Asheem was
arrested on conspiracy charges as part of gang raid that targeted the
Goodfellas. Five months later, Jelani was arrested and charged with a
double attempted murder charge following a shooting in the
neighborhood. Social media evidence was at the center of the older
brother's case, and the the family says online activity figured into the.
arrest of the younger brother as well.

The story of the Henry brothers highlights a new reality for teenagers
growing up at the intersection of social media, street gangs, and
mounting law enforcement surveillance. For those coming of age in
gang-saturated areas, the mountains of digital media posted online are
a tangled web of connections that can be used to lock up violent
perpetrators—but can also ensnare the innocent along with them.

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Alethia Henry raised her boys as a single mother, maintaining a
steady job as a case manager for an organization supporting people
with developmental disabilities. She made sure her two sons had a
good education and wore the latest clothes. Her home was a
welcoming place, and Asheem and Jelani's friends would gather at the
Henry house to play video games and get a full meal. "My mam, she
always opened the door to other kids,” says Asheem. "She kind of
made our place a safe space to hang."

As kids, the brothers felt comfortable walking the streets of their
neighborhood—Asheem played pick-up basketball games at courts all
around Harlem. But as the brothers turned 12 and 13, they became
increasingly aware of a violent map of territories and rivalries. Jelani
says that sometimes he was afraid to go to the grocery store. Certain
friends the boys had known for years suddenly became enemies
because of where they were from.

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New York City’s murder rate has been falling for two decades, recently |
hitting lows not seen since the 1960s. But that trend isn’t true in
Harlem, where gun violence began climbing during the boys’ teenage
years, At the heart of this violence was a back and forth cycle of |
vengeance between youth crews that exploded in number during the
Henry boys teenage years.

  
 
 

Harlem, like many poor urban areas, had experienced its shares of
notorious gangs like the Bloods and Crips. But the crews that the
Henry boys grew up with were mostly small and local in nature, with no
connection to a larger, national organization. Like an increasing
number of such groups across the country, these crews consisted of a
loose group of a dozen or so teens from the neighborhood. Sometimes
they controlled nothing more than a single corner. "You couldliveon
the east side of a project, and have problems with them dudes on the

west side, one block away," Says Asheem.

"You roil up to a spot with your boys, you wanna feel safe, you wanna
impress the girls," he explains. Goodfellas was never meant to be a
criminal organization — more of a neighborhood clique. But over time, |
the crew found itself in violent rivalries with other crews in the area.

"The first time someone robbed me for my jacket, | let it happen,” |
Asheem says. "The second time, | fought back and got my ass

whooped. The third time, | got a weapon to defend myself."

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$= Source: Harlenr Community Justice Center $$ Media-—CFEWS-

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More so than his younger brother, Asheem fell deeply into the
Goodfellas crew and its conflicts. Jelani, meanwhile, managed to stay
removed from these local struggles. As a young teen, he began
attending Leake & Watts, a special needs school based in Yonkers,
outside the city. But as Asheem's younger brother, Jelani remained a
background member of the crew by default.

"| knew them all my life, and we always had each other's back.
Somebady mess with you, they mess with all, that was my perspective.
Just friends hanging out, chasing after girls," says Jejani. "| didn’t think

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‘THE thought of it as family." He was aware of the violence
involved in, but says he never participated, save a .

~~ few scuffles in the street. For the most part, Jelani says, "what they
was doing, | wasn’t doing.”

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The Goodfellas. Jelani can be seen at top right

Like many teens, the Henry boys were avid users of social media,
posting content about themselves and their crew. They appeared in
Goodfellas rap videos on YouTube, and had accounts on MySpace
and Facebook where they appeared in Goodfellas jackets or in images
tagged with "Goodfellas" and "GF." It was clear to both of them that the
reputation they projected online was not just fun, but as critical to their
safety as not walking alone at night.

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THE. WERGE: 3-1 you know that saying?" says Asheem,

chi s of Jeff Lane, an assistant professor at Rutgers

University in the School of Communication and Information who came —
to know the Henry boys well. Lane spent several years living in
Harlem, working on violence prevention and writing about street life.
Even good kids who prefer to spend time with family and in the
classroom often find it necessary to act "hard," says Lane. In tough
neighborhoods, displays of violence and bravado are not a choice, but
a survival tactic. "Teenagers these days need to worry not just about
how they act in real life, but also how they are perceived on the digital
street."

For those not deeply involved in crews but who, like Jelani, were
connected by family and proximity, the same kind of scrutiny applied.
"People are looking to see how you respond," Jelani explains. There
might be a fistfight, for example, and a video would be posted online to
Facebook or YouTube. "If you don't ‘like’ that post,” he says, “people
are gonna ask you why.”

As crime in New York City has fallen, law enforcement has focused on
the pockets of violence that remain. Over the last five years, the New
York City police department and Manhattan prosecutors office have
ramped up their efforts to understand, oversee, and infiltrate the digital
lives of teenagers fram crime-prone neighborhoods like Harlem. They
track the activity of kids through services like Twitter, Facebook, .
YouTube, and Instagram, going so far as to create fake accounts and
spark online friendships to sidestep privacy settings. A recent
indictment discusses activity of crew members as young as 10, and
arrested several 15-year-olds following a four and half year
investigation.

"We are coming to find you and monitor every step you take," Joanne
Jaffe, the department's Housing Bureau chief, told The New York
Times in 2013. "And we are going to learn about every bad friend you
have.”

A music video by The Goodfellas

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THEWERG cial media busts emerged around 2011 with a crack
BG BE E 14 crew members. Asheem’s case followed shortly _

thereafter, with 19 defendants. In April of 2043, another Harlem raid
took down 63 crew members. Many of these operations have been
organized under the rubric of Operation Crew Cut, a police strategy
combining a focus on crews and social media in an effort to curb gun
violence.

The most recent Crew Cut raid took place this past June, just after
dawn. Helicapters circled low over the Grant and Manhattanville
housing projects in West Harlem. Hundreds of officers swarmed into
the buildings as members of the press, tipped off beforehand, watched
from the wings. In all, 103 defendants, many between the ages of 15
and 20, were indicted. (The word "Facebook" appears more than three
hundred times in these indictments.) It was the largest gang raid in the
history of New York City, part of an escalating pattern of mass arrests
that used social media evidence and conspiracy statutes to arrest
larger and larger numbers of defendants.

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The district attorney leading the case accused rival crews who lived in
the housing projects of two homicides and 19 non-lethal shootings,
pointing to a weaith of evidence gathered from reviews of over 1 million
social media pages where feuds played out. "IM GOOD BRO THEY
SHOT ND MISS WE SHOOT TO KILL" read one Facebook message.
"NOW IMAA REALII KILL SOMEONE" read another.

“THE MIX OF SOCIAL MEDIA AND CONSPIRACY
STATUTES CREATES A DRAGNET THAT CAN
BRING ALMOST ANYBODY IN”

Though the New York City Police has declined to comment for this
piece, in the past the department has touted Operation Crew Cut as a
success. "Strategic enforcement and proactive policing combined with
strang prosecutorial partnerships, including attention to the new
battleground of social media, have resulted in lives being saved in New
York City, mostly young minority men," former police commissioner
Raymond Kelly said ina 2013 press release. The NYPD says statistics

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EVERG the first year of Operation Crew Cut, homicides
1H Bote ages 13 to 21 fell 50.6 percent in the areas
targeted by the operation. =

But critics say that while violence may have fallen, the number of
arrests during each raid has not. "The mix of social media and
conspiracy statutes creates a dragnet that can bring almost anybody
in," says Andrew Laufer, a New York City attorney who has worked on
numerous cases involving teenagers wrongly arrested by police. "It’s a
complete violation of the Fourth Amendment and the worst kind of big
brother law enforcement.” To build the case for the Harlem raid, police
had begun social media surveillance of children well before they had
built up a serious criminal record.

Affiliation with a crew, even a tangential one, can be a deciding factor
in getting locked up. "I find it disturbing and scary," says Christian
Bolden, a professor of criminology at Loyola University. "In many
states, if police see you together with someone three times — and this
can be in. real life or in.a picture they find online — that is enough to
prove conspiracy. That puts the onus on young people to be smart and
careful about who they are with and what they post. And if we know
one thing about teenagers, it’s that they are rabidly social and often
quite reckless." It was this exact mix of neighborhood affiliations and
social media that entangled the fates of the Henry brothers.

In 2008, Asheem was arrested for weapons possession. He had never
fired the gun in question—the indictment showed that it didn’t even
work—but he admits to obtaining the weapon illegally. When ! visited
him at Elmira Correctional Facility, a maximum security facility four
hours northwest of New York City where he was serving his sentence,
he wore a dark green prison uniform and clean white sneakers. His
hair was still in the stylish waves he was known for in Harlem. "I was
running around with a gun because—not because | was a
gangbanger,” he says. "You get caught out your neighborhood, you get
jumped.”

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you.”

Asheem pleaded guilty to the charge and got five years probation.
Determined to fly straight, he kept a clean record after that, graduating
high school and heading off to college at William Paterson University in
New Jersey. As a freshman, Asheem had finally put some distance
between himself and his troubled neighborhood. But in the week of his
first midterm exams, his mother called him. "You need to come home,”
she told him. "The police are looking for you.”

The 129th street indictment was one of the earliest in a string of cases
that the Manhattan DA has brought against 16 crews in the jast four
years. These operations have leveraged the potent combination of
social media evidence and conspiracy statutes. Asheem was charged

_with.conspiracy.in the third degree. The evidence was the gun charge
to which he had already pled guilty, and photos, which he says dated
back to the time when he was 14 and 15, showing him and other boys
under the banner of Goodfellas.

The Goodfellas. Jefani can be seen top right

One image showed Asheem and friends at an older girl’s Sweet
Sixteen party — their arms draped over one another's shoulders.
Alethia says the picture was used as evidence to show participation in
a criminal conspiracy. His mother had been at the party as a
chaperone. "| didn’t see gangsters,” she says, "| just saw some kids."

But even though these photos were pasted online when Asheem was
still a minor, they were fair game for the prosecutor when bringing
charges against him as an adult. Along with his previous confession to
the gun charge, it was enough to prove he belonged to a violent crew.
a" | asked them, "Yo, is that no form of double jeopardy?’ And they
said, ‘No, because you pled guilty to the weapon, it opens up [the
conspiracy charge]," recalls Asheem. "And because you got pictures

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How the NFAS$sHARS MOORE TEAR pROGMMAP tet Rs rel DRR PPhe Verge” 29 oft. 11 of 17

IHE VERGE” they're saying you guys all knew what was going
n!

"| DIDN'T SEE GANGSTERS, " HIS MOTHER
SAYS. “I JUST SAW SOME KIDS.”

"We were just young dumb kids running around, and we just happened
to run under the one name," he tells me. "There wasn't no hierarchy,
there wasn’t order.” But the nature of some conspiracy statutes,
especially when defendants are identified as gang members, doesn't
require that teens be aware of a specific plan or crime in order to be
found guilty.

According to Chris Lawson, a prosecutor in San Diego, three
ingredients must be present to bring a conspiracy charge against gang
members in his state: knowledge of a gang's criminality, active
participation in the gang, and intent to further the gang’s overall goals.

_.. Prosecutors-can-glean-evidence for. all.of this off social media."If- you
go out and represent yourself as a members of the Crip killers, and if
shortly after you make threats online, a Crip is killed—even though we
don't know who pulled the trigger—we can hold you legally responsible
for conspiracy to commit those murders."

Alethia says that in Asheem’s case, the judge told him he was looking
at a possible sentence of 15 to 30 years. lt was a frightening length of
time that convinced Asheem to take a plea deal that could range from
46 months to 4 years instead. While he was incarcerated, the police
matched his DNA to another gun recovered near the scene of a gang
altercation. Though this gun was operable and loaded, it had not been
used in a murder or violent conflict. But Asheem, knowing his record
would look bad before a judge, decided to take another plea, adding
six more years onto his current sentence. He is now scheduled for
release in 2017.

Photo taken by local event company at a Sweei Sixteen party. Asheem is farthest lef

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THE VERGE. the social media evidence, it’s likely Asheem would

o led into the conspiracy indictment. California has

‘troduced a new law that would allow teenagers to wipe clean their
online presence when they turn 18, erasing youthful indiscretions. And
in Europe, major governments have forced Google to remove links that
users feel keep them unfairly associated with their past. But for now, in
most US states, social media creates a time capsule that can come
back to haunt you. Asheem was a minor during the period when the
pictures were taken. But when the conspiracy indictment came down,
he was old enough to be charged as an adult.

IN MOST US STATES, SOCIAL MEDIA CREATES
A TIME CAPSULE THAT CAN COME BACK 10
HAUNT YOU

Individuals who work closely with at-risk youth in Harlem and sirive to
keep therm out-of the prison system-admit that the-surveillance.of social
media and operations like Crew Cut are a necessary response to gun
violence among youth. "Nobody wants to see 14- and 15-year-old kids
getting locked up," says Chris Watler, Project Director at the Harlem
Community Justice Center. "But if a kid is picking up a gun, or shooting
other kids, we need to stop them from doing that. If you have a kids
posing online with a gun, what is the obligation of law enforcement?
There is a legitimate public safety concern.”

To his family and friends, Asheem's case is tragic. They saw a a high
school graduate and aspiring college freshman, a young man who had
pled guilty to his crime and then tried to leave that life behind. But
belonging to the Goodfellas was also a crime—and Asheem was
admittedly guilty of it. He would become among the earliest of mare
than 300 crew members who have been convicted over the past four
years by the Manhattan DA on conspiracy charges.

But what happened next came as a shock: the police came for Jelani
as well.

A line up of suspects in Jelapti's case. Jetaniis at bottom right.

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EWERGE. Asheem’s indictment, in April of 2012, the police

Ti this girlfriend’ s home in the Bronx. At first he thought ©

~~"St was for something minor: he had jumped a subway turnstile earlier” |
that year and failed to show up in court for his summons. But he

quickly learned that he was under arrest for two counts of attempted
murder and other charges.

A few weeks prior, a girl had been spit on by members of a local
Harlem crew. The next day, someone shot the spitter and his friend in
retaliation, The gunfire broke out in front of Kings Deli on 129th Street
ahd Frederick Douglass Boulevard, two blocks west of the Henry
household. Jelani, the police said, matched an eyewitness description
of an individual fleeing the scene: a tall, light-skinned black male.

In the interrogation roam, two detectives grilled Jelani about Goodfellas
gang rivalries in the area. "All my friends are in jail," he told them. "|
don’t hang out with nobody.”

“ALL MY-FRIENDS ARE IN-JAIL,” JELANE TOLD
THE POLICE. "I DON'T HANG OUT WITH
NOBODY.”

Jelani had never been convicted of a crime, but at the arraignment, the
District Attorney’s office described him as a known member of a violent

gang. As evidence, Jelani and Alethia say, she pointed to posts about
Goodfellas that he had “liked” on Facebook. The judge denied Jelani
pail, instead sending him to Rikers Island, one of the nation’s most
notorious jails. The district attorney offered him 20 years if he pled

guilty, but Jelani refused. He was certain that a trial would prove his

innocence. Days went by, then weeks, months, a year. The trial never

came.

During the time he was imprisoned, the DA refused to share almost all
the evidence with Jelani or his lawyer. He had no access to the
testimony or physical evidence against him and therefore no way to
argue that his indictment and detention should be overturned. What
little his lawyer did know showed the case to be a shaky one. Two men

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E ing from the scene of the shooting. One eyewitness
TH a ned man held the gun. Anather said it was the light- .
skinned man. An eye witness picked Jelani out of a lineup, but another

failed to do so.

"Because of them pictures, the DA said | was affiliated, that | know

what's going on in the hood,” Jelani remembers. On Facebook, Jelani

had appeared in pictures with the crewmembers, and he had liked

images linked to Goodfellas on Facebook. Again and again, Jelani

says, the district attorney pressed him to take a plea bargain, pointing
to the evidence on social media. But he refused. "Those are people |
would call my friends, but what they was doing, | wasn’t doing. To her, |
I'm part of them. I'm a monster." |

IN A BIT OF KAFKA-ESQUE ARITHMETIC, 17
MONTHS BECAME 83 DAYS

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Every so often Henry would be shuttled to the courthouse in
Manhattan, and every time, the district attorney delayed the start of the
trial. In New York, a defendant is entitled to a trial, and a felony suspect
is supposed to be freed on bail after six months without one.

But the district attorney convinced a judge that most of the time Jelani
spent in jail shouldn't count towards that release. She argued that days
spent gathering more evidence, delays in testimony by a police officer
who was on vacation, or instances where she was unprepared ta make
her case did not figure into the six-month period. The judge agreed. In
a bit of Kafka-esque arithmetic, 19 months became 83 days. Instead of
finishing trade school, Jelani celebrated his 20th and 21st birthdays in
a cell.

Because of the serious charges and the assertion that the crime was
gang-related, Jelani was kept in the George R. Vierno Center, among
the most violent housing facilities at Rikers Island. There he was forced
into close proximity with inmates from rival areas of Harlem, leading to
several fights. The violence changed him. "My experience on Rikers

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EWENRGE . | had to show, like not just be myself," he says. "]
1H a beast.”

Jelani fought with other inmates and was was punished with solitary
confinement. " did nine months straight in the box," he remembers.
That meant 23 hours a day in a 6 x 8 foot cinder block room, his meals
pushed through a slot in the door. "For a while, | kind of lost my mind in
there.”

Henry said he struggled at times to avoid taking the guilty plea. "I'm
like, God’s not listening to my prayers.” Thinking of his brother's plea
helped him to stay strong. "I knew sooner or later, [God’s] gonna be
like, aight, you suffered enough.”

Meanwhile, the district attorney kept dragging her feet. "She definitely
thought we would crack if she kept him up in Rikers long enough,” says
Alethia. But Jelani and his mother refused to cut a deal. "They took one
of my boys, but you can’t have them both,” she says.

Alethia finally convinced her lawyer to file a speedy trial motion and in
November of 2013 Jelani was given bail. Four months !ater, with no
move by the DA to proceed, his case was finally dismissed, almost two
years to the day it began. The DA has refused to share the document
that outlines the reason for dismissing Jelani’s case with him or his
lawyer. To date, there has been no explanation and no apology for
Jelani’s detention

"THEY TOOK ONE OF MY BOYS, BUT YOU CANT
HAVE THEM BOTH.”

After leaving Rikers, Henry moved in with his grandmother in West
Harlem. He has tried to steer clear of old neighborhood conflicts. "My
head is all over the place these days,” he says, walking along Harlem
River Drive.

Gone is the skinny kid who appears in Goodfellas group photos on
MySpace. He is a young man now, with a mustache goatee and a layer
of muscle he put on in prison. "I want to be a DJ, a bartender, maybe

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EWERGE. feel like ’'m making up for the lost time, and there is
1H | could do." He hopes to return to school, this time for a

degree in automotive repair.

As for social media, and socializing in general, he says he mostly

avoids it. "I prefer to just be in the house, not do nothing, be bored out
my mind, instead of being outside and being a part of something, which
('m not really." He is hypervigilant about what he posts and what
pictures he appears in, but says he doesn’t think the big takedowns of
crews have changed the behavior of the average Harlem teenager.
"People post things just to get likes to be popular,” he says.

Because Jelani’s case was dismissed, the Manhattan District Attorney
legally cannot discuss it in any way. But the office stands by the work it
has done on social media and the cases it prosecuted based on
Operation Crew Cut raids.

"When we first start, a crew might have hundreds of people in it. We
—thern start to narrow,;-and we focus, like-a laser, the worst of the -worst;"—
says Chief Assistant District Attorney Karen Friedman Agnifilo. "We are
very careful to make sure that we have evidence that we can prove at

trial, that these weren't just kids who like to hang out with the gang
[but] members who are really a part of the violence."

Jelani’s case wasn't caught up in one of the big conspiracy indictments
— his was one ripple farther out from those takedowns. While she
wouldn't discuss Jelani directly, Agnifilo spoke in broad terms about the
risk-and-reward dynamic of this new style of policing. "With big gang
raids, there is collateral damage that spills over and affects the
families," she says. "The criminal justice system is not the answer. This
is a social and economic issue. But when there is violence, we are
prosecutors, and there are only so many options.”

Unfortunately, Henry’s troubles from the arrest aren't over. He is now
facing assault charges stemming from a fight in prison. "He was
innocent when he went in there, and now he might come out with a
charge for defending himself,” says Alethia. His family plans to sue the

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Alethia is committed to getting his story out there because she believes
the policies of police and prosecutors have to change. "Jelani was
brought in over nothing. Because he was Asheern's brother. Because
he was friends with people from the hood on Facebook." Well before
the arrest of either boy, she had gone to the local police, begging them
to intervene in the deadly neighborhood conflicts. "We asked for help,
and we got an indictment instead,” she says sitting in her kitchen, tears
wetting her eyes. "People don’t understand why it’s so dangerous to
put yourself out there on social media. You know what my son is guilty
of? Being born on 129th Street."

Photography by Bryan Derballa

Map by Ryan Mark and Josh Laincz

—._ AdditionaF- reporting by: Ghaim-Gartenberg ee

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= FAMILY COURT OF THE STATE OF NEW YORK GF2 8/2002
« COUNTY OF NEW YORK

 

In the Matter of a Family Offense Proceeding File #: 132891
Docket #: O-10874-10
Kelly Cathleen Price,
Petitioner, SUMMONS
- against -

Raheem Powell,
Respondent.

 

IN THE NAME OF THE PEOPLE OF THE STATE OF NEW YORK:

To: Raheem Powell nf
315 West 116" Street #3B one
New York, NY 10026 art
A petition under Article 8 of the Family Court Act having been filed with this Court, and annexed hereto ©

YOU ARE HEREBY SUMMONED to appear before this cout on

Date/Time: January 24, 2011 at 9.15 AM

 

Purpose: Return of Process
Part: 5 . / nae Sars aes
——Flecr/Room: Poors South/Room PES oe

Presiding: Hon. Lori S. Sattler
Location: 60. Lafayette Street
’ New York, NY 10013

-to answer the petition and to be deat with in acvordance with the Family Court Act. .
On your failure to appear as herein directed, a warrant may be-issued for your arrest,

ee ee ——s - ee, = Kio Be “fF

Dated: November 22, 2010 Evelyn Hasanoeddin?Clerk of Court =

    

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NOTICE: Family Court §154(c} provides that petitions brought pursuant to Article 4, 5,6, 8 and 10 of the.

Family Court Act, in which an order of protection is sought or in which a violation of an order of protection

© is alleged, may be served outside the State of New York upon a Respondent who is not a fesident or

domiciliary of the State of New York. If no other grounds for obtaining personal jurisdiction over the

Respondent exist aside from the application of this provision, the exercise of personal jurisdiction over the

es respondent is limited to the issue of the request for, or alleged violation of, the order of protection: Where

the Respondent has been served with this summons and petition does not appear, the Family Court may
proceed to a hearing with respect to issuance or enforcement of the order of protection.
 

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FAMILY COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK

In the Matter of a Family Offense Proceeding File #: 192891
/ Docket #: O-10874-10
Kelty Cathleen Price,
. Petitioner, FAMILY OFFENSE
- against - PETITION

Raheem Powell,
Respondent.

TO THE FAMILY COURT:
The undersigned Petitioner respectfully states that:
I, Kelly Cathleen Price reside at! 237 West 120" Street #1, New York, NY 10027.

The Respondent, Raheem Powell resides at 315 West 116" Street #3B, New York, NY
10026,

_... The Respondent and | are related in.the-following way: Thad a intimate relationship (former...
dating) with the Respondent.

The Respondent committed the following family offenses:against me and/or my children
which constitute attempted assault, assault in the second or third degree, ageravated
harassment in the second degree, harassment in the first or second degree, disorderly
conduct, menacing in the second or third degree, reckless endangerment, and criminal
mischief,

The most recent incident was‘on November 11, 2010 at home of the Petitioner: Petitioner
states that the Respondent choked her until she passed out and pushed her through 4
fish.tank (causing severe cuts and blood loss). Petitioner states that she has to go to the
hospital for stitches in her rear due fo the above incident. Petitioner states she was and
beaten by the Respondent’s. ‘mother on 11/17/2010 (she was arrested 11/22/10).
Petitioner states that the Respondent has made death threats against her and his family
has caused her bodily harm.

[have not filed a criminal court complaint concerning these incidents, but Petitioner states
that she has filed numerous complaints-against the Respondent.

I have no minor children and there are no other minor children living in my home.

The Respondent owns or has access to guns as follows: Petitioner states that the
Respondent owns and/or has access to guns and knives.

‘If your health or safety or that of your child or children would be put al risk by disclosure of your address or
\ cnet identifying information, you may apply to the Court for an address confidentiality order by submilting General

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/<, Docket No: O-10874-10 |

 

| Wo ay Rae

The Respandent has the following Pamin) convictions: Petitioner states that the
Respondent.has been arrested in the past for selling narcotics.

[have not made any previous application to any court or judge for the relief requested in this
petition.

WHEREFORE, Petitioner respectfully requests this Court to:

. adjudge the Respondent to have committed the family offenses alleged;
. enter an order of protection, specifying conditions of behavior to be observed by the
Respondent in accordance with Section 842 of the Family Court Act:
. Petitioner is requesting an Order of Protection to-keep-the Respondent. ...
away from her, her home, her pets, and to stop the Respondent from
harming, harassing, menacing, calling, any 3™ party and electronic
contact, and threatening the Petitioner in any way; |
. order such other and further relief as the Court deems just and proper.
+

Dated: November 22, 2010

  

 

 

Kelly epee Price, Petitioner

VERIFICATION
STATE OF NEW YORK)

COUNTY OF NEW YORK)

Kelly Cathleen Price being duly sworn, says that he/she is the Petitioner in the above-

named proceeding and that the foregoing tition is true to his/her own knowledge,

except as to matters stated to be alleged oft \nformation and belief and as to those matters a
he/she believes them to be true. ?

 

Sworm to before me on

November 22, 2010
Lhe Sed. |

Chief Clerk or Designee
Notary Public

 

 
 

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